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UNITED STATES BANKRUPTCY COURT                                                                  FILED
 WESTERN DISTRICT OF OKLAHOMA                                                                 Mar. 1, 2019
                                                                                           Douglas E. Wedge , Clerk
                                                                                            U.S. Bankruptcy Court
                                                                                          Western District of Oklahoma



IN RE:
Wilma Jeanne Morris                                             Case Number: 18−13787 − JDL

       Debtor(s).                                               Chapter 13




                                     NOTICE OF HEARING
                                          ( F.R.Bankr.P. 9014)

  You are hereby noticed that
27 − Application to Reschedule Hearing On (related documents 19 Notice of Hearing, 25 Notice of Hearing)
With Brief in Support, With Certificate of Service, With Notice and Opportunity for Hearing, Filed by Matthew
J. Hudspeth of Baer and Timberlake PC on behalf of QUICKEN LOANS INC. (Hudspeth, Matthew)

will be heard by Judge Janice D. Loyd on March 6, 2019 at 09:30 AM in the 2nd Floor
Courtroom, 215 Dean A. McGee Avenue, Oklahoma City, OK 73102.




Dated: March 1, 2019                                            BY ORDER OF THE COURT,
                                                                Douglas E. Wedge, Clerk
                                                                By: /s/Debbie Rohde
                                                                Debbie Rohde, Deputy
